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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                  CRIMINAL ACTION NO. 2:14-00034

DAVID BURGESS


           SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                     MEMORANDUM OPINION AND ORDER


            On May 11, 2017, the United States of America appeared

by C. Haley Bunn, Assistant United States Attorney, and the

defendant, David Burgess, appeared in person and by his counsel,

George H. Lancaster, Jr., Assistant Federal Public Defender, for

a hearing on the petition on supervised release and amendment

thereto submitted by United States Probation Officer M. Dylan

Shaffer.    The defendant commenced a three-year term of

supervised release in this action on October 31, 2016, as more

fully set forth in the Judgment Including Sentence Under the

Sentencing Reform Act entered by the court on September 19,

2014.


            The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

committed the offenses of fleeing in a vehicle and

transferring/receiving a stolen vehicle on or about February 11,

2017, as evidenced by his stipulation on the record of the

hearing that the government possesses sufficient proof to prove

the offenses by a preponderance of the evidence; (2) the

defendant failed to submit a monthly report for January 2017;

(3) the defendant failed to notify the probation officer at

least ten days prior to any change in residence inasmuch as on

January 24, 2017, the probation officer attempted to contact him

at his address of record, but was informed by the defendant’s

aunt that he had not resided there since he was released from

custody and she did not know where he was residing; (4) the

defendant used and possessed controlled substances as evidenced

by his admission to the probation officer on December 15, 2016,

that he had consumed marijuana on December 10, 2016, and heroin

on December 12, 2016; his admission to the probation officer on

December 28, 2016, that he had consumed heroin on December 24,

2016, and that he consumed marijuana approximately two weeks

prior; a urine specimen submitted by him on January 9, 2017, for
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opiates, marijuana and methamphetamine, the defendant having

admitted to the probation officer that he had consumed heroin on

January 7, 2017 1; (5) the defendant failed to attend substance

abuse counseling and treatment as instructed by the probation

officer; and (6) the defendant failed to report for drug screens

on January 10 and 25, 2017; all as admitted by the defendant on

the record of the hearing with the exception of (1) as noted

above and all as set forth in the petition on supervised release

and amendment thereto.


            And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


            And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to


  1
   The defendant denied having used methamphetamine. The urine specimen was
submitted to Alere Toxicology for confirmation and was confirmed positive for
amphetamine, methamphetamine, marijuana, codeine and morphine.
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the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

NINE (9) MONTHS, to be followed by a term of twenty-seven (27)

months of supervised release upon the standard conditions of

supervised release now in effect in this district as promulgated

by the Administrative Office of the United States Courts

(National Form AO 245B), the standard conditions as set forth in

Local Rule 32.3 and the special condition that he spend a period

of six (6) months in a community confinement center, preferably

Dismas Charities, where he shall follow the rules and

regulations of the facility and participate to the maximum

extent feasible in drug abuse counseling and treatment.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.

                                         DATED:      May 12, 2017


                                         John T. Copenhaver, Jr.
                                         United States District Judge
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